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UNITED STATES DISTRICT COURT                                                  DOC#: - - - - - - -
SOUTHERN DISTRICT OF NEW YORK                                                 DATE FILED:     2 2 2014'                SEP
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 GEOFFREY OSBERG, on behalf of himself
 and on behalf of all others similarly situated,

                                     Plaintiff,                                                07-cv-1358 (KBF)

                            -v-                                                                            ORDER

 FOOT LOCKER, INC. et al.,

                                     Defendants.

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KATHERINE B. FORREST, District Judge

        This lawsuit, commenced in 2007, alleges that certain changes Foot Locker,

Inc. ("Foot Locker") made to its employee pension plan (referred to as the "Foot

Locker Retirement Plan" or the "Plan"), violated various provisions of the Employee

Retirement Income Security Act of 1974 ("ERISA"), 29 U.S.C. § 1001 et seq.

Plaintiff alleges that Foot Locker breached its fiduciary duty in making materially

false and misleading statements and omissions under§ 404(a), 29 U.S.C. § 1104(a).1

Plaintiff seeks relief pursuant to § 502(a)(3), 29 U.S.C. § 1132(a)(3), for reformation

and surcharge.

        In particular, plaintiff contends that for the years prior to January 1, 1996,

the Foot Locker Retirement Plan was a '"career average pay' plan that calculated



1 This Court had previously dismissed plaintiffs claim under ERISA § 102(a), 29 U.S.C. § 1022(a), as

time-barred. That determination was challenged on appeal. The Second Circuit found that since the
relief plaintiff sought under § 102(a) and § 404(a) was the same, it need not conclusively decide
whether the § 102(a) claim was time-barred. Osberg v. Foot Locker, Inc., 555 F. App'x 77, 80 (2d Cir.
2014).
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and paid benefits according to a formula that based accruals on a specified

percentage of employees' annual compensation." (Amended Complaint, ECF No. 57

ii 19 ("Am. Compl.").) By means of a plan amendment adopted in late 1995 and
effective as of January 1, 1996, Foot Locker converted the Plan to a "cash balance"

plan for years of service beginning on January 1, 1996, and froze accruals under the

terms of the Plan as it had existed previously. (Id.   ii 20.) Under the amended Plan,
a hypothetical or notional account was created for each Plan participant; Foot

Locker attributed to that account an amount it calculated as an "initial" or opening

account balance. (Id.   ii 21.) The calculation of that balance is at the heart of this

dispute.

      According to plaintiff, for each employee who had joined the Plan before the

conversion, Foot Locker calculated the initial account balance by determining the

actuarial equivalent lump sum value of previously accrued benefits based on a 9%

rate of interest and a mortality table. (Am. Compl.     ii 24.) A participant's notional
cash balance account was, in contrast, adjusted on the first day of each calendar

year by an "interest credit" of 6% per annum. (Id.     ii 23.) For employees who
remained active participants after the conversion to a cash balance plan, Foot

Locker used a "greater of' formula under which participants were entitled to the

greater of "(A) their 'frozen' benefit derived from the Plan terms as of December 31,

1995, or (B) their notional account balance calculated under the Plan's cash balance

formula as of the date of retirement or separation from service." (Id.    ii 25.)
According to plaintiff, Foot Locker's decision to use the 9% interest rate to establish

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opening account balances, combined with an annual 6% interest rate to calculate

credits and a "greater of' formula, resulted in a period of time during which

employees' frozen benefits were guaranteed to be greater than their notional

account balances. (See e.g., id. ii~ 37-38.) Thus, the cash balance conversion had

the "effect of an interest arbitrage." (Id.   if 45.)
       There is one named plaintiff in this action, Geoffrey T. Osberg ("Osberg").

Osberg was employed by Foot Locker or one of its predecessor companies from 1982

to 2002. (Am. Compl.      ~   5.) Osberg participated in the Plan during the entire

twenty-year period of his employment. (Id.) He seeks to represent a putative class

of approximately 16,000 individuals, defined as follows:

      All persons who were participants in the Foot Locker Retirement Plan as of
      December 31, 1995, who had at least one Hour of Service on or after January
      1, 1996 (as defined under the Plan), and who were either paid a benefit from
      the Plan after December 31, 1995 or are still entitled to a benefit from the
      Plan; and the beneficiaries and estates of such persons and alternate payees
      under a Qualified Domestic Relations Order.

(See Am. Compl.   ii   10; Mot. for Class Certification and Appointment of Class

Counsel, ECF No. 158, at 14.)

       Pending before this Court are plaintiffs motions for class certification and

reinstatement of Count III, a claim pursuant to § 102(a). For the reasons set forth

below, plaintiffs motions are GRANTED.

I.     LEGAL STANDARDS FOR CLASS CERTIFICATION

      A plaintiff seeking certification of a class must prove by a preponderance of

the evidence that its proposed class meets the requirements of Rule 23(a) and, if

those requirements are met, that the class is maintainable under at least one of the
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subdivisions of Rule 23(b). See Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541,

2548 (2011); Teamsters Local 445 Freight Div. Pension Fund v. Bombardier Inc.,

546 F.3d 196, 202 (2d Cir. 2008). Plaintiff here seeks certification under Rule

23(b)(3).

       Rule 23(a) provides that class certification may be appropriate if:

       (1) the class is so numerous that joinder of all members is impracticable;
       (2) there are questions of law or fact common to the class;
       (3) the claims or defenses of the representative parties are typical of the
       claims or defenses of the class; and
       (4) the representative parties will fairly and adequately protect the
       interests of the class.

Fed. R. Civ. P. 23(a).

       Rule 23(b)(3) allows certification if "the questions of law or fact common to

class members predominate over any questions affecting only individual members,

and ... a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy." Fed. R. Civ. P. 23(b)(3).

       Plaintiff bears the burden of demonstrating affirmative compliance with the

requirements of Rule 23. Wal-Mart, 131 S. Ct. at 2551. In making a determination

as to whether class certification is appropriate, the district court must "receive

enough evidence, by affidavits, documents, or testimony, to be satisfied that each

Rule 23 requirement has been met." Teamsters Local 445, 546 F.3d at 204 (quoting

In re Initial Pub. Offerings Sec. Litig., 471 F.3d 24, 41 (2d Cir. 2006)) (internal

quotation marks omitted).

       By virtue of the rather lengthy passage of time since this case was

commenced, plaintiffs motions for class certification and reinstatement of Count III
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(surcharge) follow the guidance provided by the Supreme Court in CIGNA Corp. v.

Amara, 131 S. Ct. 1866 (2011) (Amara III). Amara bears similarities to the case

before this Court.

      Amara was also a putative class action challenging an employer's conversion

from a defined benefit plan to a cash balance plan. 131 S. Ct. at 1870. The district

court certified a class and held a bench trial after which it reformed the contract

and imposed a surcharge. See id. at 1870-71. The issue before the Supreme Court

concerned the form and basis for relief. The Court held that reformation and

surcharge were both appropriate equitable remedies pursuant to § 502(a)(3). See id.

at 1878-80.

      Neither the class certification motion nor the request to reinstate the § 102(a)

claim present difficult issues, particularly in light of Amara.

II.   CLASS CERTIFICATION

      A.      Numerosity

       Numerosity is not an issue on this motion-defendants concede it and the

proposed class consists of approximately 16,000 members. (Answer§ 12; see also

Expert Report of Lawrence Deutsch, ECF No. 84-23, at 1.)

       B.     Commonality and Predominance

       Commonality is a contested issue, but it is quickly resolved in plaintiffs

favor. Commonality requires a showing, through the existence of at least one

"questionD oflaw or fact common to the class,'' Fed. R. Civ. P. 23(a)(2), that the

representative's claims and those of the class "depend upon a common contention"

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which is "of such a nature that it is capable of classwide resolution-which means

that determination of its truth or falsity will resolve an issue that is central to the

validity of each one of the claims in one stroke." Wal-Mart, 131 S. Ct. at 2551. A

court's analysis of commonality and predominance often merge, Newman v. RCN

Telecom Servs., Inc., 238 F.R.D. 57, 73 n.12 (S.D.N.Y. 2006), and they do so here.

       There are multiple common questions oflaw and fact in this case that will

generate class-wide answers-and these common questions predominate over

potentially unique issues. Among the common questions are:

       Whether Foot Locker violated ERISA's strict fiduciary standards by
       preparing and disseminating participant communications with the intent to
       conceal the wear-away and/or that had the effect of concealing wear-away.

       Whether there was a binding understanding of a no-freeze plan-that is, that
       the amended plan provided for an equal-value conversion from an annuity to
       an account balance format, with new benefits being added immediately, equal
       to the annual pay and interest credits posted to participants accounts,
       effective January 1, 1996-coupled with participants' objective, reasonable
       (but mistaken) expectation that that was what the formal plan terms
       provided.

       Whether Foot Locker violated its fiduciary duties by intentionally taking
       advantage of employees' lack of full and accurate information from the
       Company regarding the conversion to obtain employees' services without
       actually providing them with the benefits Foot Locker told them they were
       earning in exchange for those services.

       There is nothing "individualized" about any of these questions. Regardless of

whether the answer to each of these inquiries is affirmative or negative, the answer

is identical as to each member of the class. Because "th[e] determination of [the]

truth or falsity [of any of these questions] will resolve an issue that is central to the




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validity of [the class'] claims in one stroke," see Wal-Mart, 131 S. Ct. at 2551,

commonality is satisfied.

       C.    Typicality

      Typicality is also satisfied. Each class member's claim arises from the same

course of events and is subject to the same proof-the changes in the Plan, planning

for those changes by defendants, and communications about those changes.

Defendants argue that individual issues will predominate as each class member

may or may not be adversely affected by the changes in the Plan. However, based

on the evidence before the Court on this motion (which may or may not alter before

trial), the evidence is to the contrary: that any employee subject to the combination

of the 9% discount rate used to calculate the initial account balance, and the 6%

rate used to calculate additional accrual, would arguably experience a period of

"wear-away" when he or she would not earn additional benefits. In this regard, for

some period of time, the harm is common. (Notably, defendants have not offered a

period of time when this calculation would change and work against a putative class

member).

       D.     Adequacy

       There is no reason to doubt that Osberg "will fairly and adequately protect

the interests of the class." Fed. R. Civ. P. 23(a)(4). He has the identical legal and

effectively identical financial interest in this action as do the members of the

proposed class. The fact that putative class members stand to benefit by potentially




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different amounts if successful in this action does not give rise to a conflict. See In

re NASDAQ Mkt.-Makers Antitrust Litig., 169 F.R.D. 493, 513 (S.D.N.Y. 1996).

         E.     Reliance

         Defendants contest class certification largely on the basis that individual

issues of reliance will predominate over common ones. This assertion is premised

on the view that putative class members must show individual reliance on

misrepresentations or omissions to establish a § 404(a) violation or entitlement to

the remedy of reformation or surcharge. This view is incorrect and has largely been

foreclosed by Amara.

         As an initial matter, plaintiffs claim here is that the breach of fiduciary duty

(the§ 404(a) claim) is evidenced by a course of common conduct-in which

defendants acted in a uniform manner across the class. Plaintiff points to common

materials, sent to all class members, as at the core of the alleged breach. Liability

or non-liability as to a§ 404(a) claim reasonably could be based on a factfinder's

assessment of these common, class-wide communications. Indeed, there is no

evidence before the Court that any particular plaintiff received materially

individualized materials which would suggest a weakness in plaintiffs form of

proof.

         Given this undifferentiated set of class-wide communications, plaintiff is

correct that reliance may be presumed. The fact pattern is more analogous to that

in Klay v. Humana, Inc., 382 F.3d 1241 (11th Cir. 2004), and In re U.S. Foodservice

Inc. Pricing Litig., 729 F.3d 108 (2d Cir. 2013), cert. denied, 134 S. Ct. 1938 (2014).

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In both of those cases, the plaintiffs were in notably disadvantaged positions and

were unlikely themselves to discover the "truth" (in U.S. Foodservice, the inflated

invoices, in Klay, the reduced physician reimbursements). Here, putative class

members were in a similarly disadvantaged position: in a highly technical area of

notional cash balance calculations, employees were unlikely to understand what the

posited "discount rate" meant, and what impact a subsequent interest rate would

have on their benefits. Put another way, "arbitrage" between the rates was a likely

scenario in the interest-rate environment. Thus, at the liability stage, reliance does

not present such unique issues as to require denial of certification.

      Individual questions also do not predominate at the remedy phase. In the

remedy phase, reliance is not required. In Amara, the Supreme Court stated that

"there is no general principle that 'detrimental reliance' must be proved before a

remedy decreed." Amara, 131 S. Ct. at 1881. Indeed, "[t]o the extent any such

requirement arises, it is because the specific remedy being contemplated imposes

such a requirement." Id.

      While the Supreme Court found that reliance must be shown for estoppel

claims, id., the same is not true with respect to reformation of contract or imposition

of surcharge following reformation-the two forms of relief sought here. In

particular, a surcharge claim based on a failure to provide proper summary

information may injure an employee even in the absence of direct reliance. Id.

Accordingly, in Amara, the Court found that to obtain relief by surcharge following

reformation of contract required only a showing of harm and causation-not

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reliance. Id. Here, plaintiff has proffered evidence that putative class members

were exposed to materially identical employee communications regarding the Plan

changes at issue.

       F.    The Statute of Limitations

      Defendants also argue that individual questions will arise with regard to the

statute of limitations. There are two potentially applicable statutes: a three-year

period for those who may have had actual notice of a breach, and a six-year period

for those who did not.

      It bears repeating that plaintiffs liability claim is premised on a violation of§

404(a)-a breach of fiduciary duty based upon false and misleading statements or

omissions. There is no doubt that the law provides that any action for breach of

fiduciary duty must be brought no later than six years from the date of the breach,

or, if a plaintiff has actual knowledge, three years from such knowledge. The

question with regard to class certification is whether a particular putative class

member may have his or her own facts with regard to knowledge-thereby causing

unique questions to predominate over common ones.

      According to defendants, there are thus at least two different possibilities for

any given putative class member: that he or she had actual knowledge of a claim for

breach, and thus his or her claim should have been brought sooner (that is, within

three years of such knowledge)-or, that he or she did not.

      Defendants argue that, in addition, a putative class member must bring suit

within six years from the time that he or she discovers, or with reasonable diligence

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could have discovered, the fraud. Thus, defendants argue that they are entitled to

know when each individual putative class member knew or should have known

about his or her claim, and, based on such knowledge, defend against a particular

claim as untimely. According to defendants, a putative class member who received

a payment from the Plan more than six years prior to the time that plaintiff

brought suit, knew or should have known of defendants' alleged breach then.

       Defendants' arguments sweep too far.

       As an initial matter, a claim for fraud or concealment under§ 413 is not

equivalent to a state law fraud claim. "It is well settled that fraud and concealment

are distinct concepts with respect to 29 U.S.C. § 1113 [ERISA § 413]. That is, a

trustee's conduct does not have to constitute fraudulent concealment under ERISA

in order to trigger the six-year statute oflimitations." Katzenberg v. Lazzari, 406 F.

App'x. 559, 562 (2d Cir. 2011) (emphasis added). In fact, if a fiduciary "knowingly

misrepresented" the value of the Plan, that conduct would fall within§ 1113. Id.

The question, in short, is whether the statute runs or could run based upon a

plaintiffs knowledge, versus a fiduciary's act. The answer is that the former is so

unlikely (based on the nature of the alleged conduct) that it should not long detain

us.

       For those who did not receive a payment more than six years prior to the

initiation of this suit, plaintiffs claims are suited to class treatment: plaintiff

alleges that the fiduciary's concealment was experienced in a common way as it was

in the form of common, class-wide documents disseminated to all and sundry.

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        However, receiving a distribution does not trigger actual or even constructive

knowledge. The information available to putative class members, even those who

had received distributions, was sparse and required deep knowledge of or

familiarity with pension calculations and possibly ERISA to properly evaluate. The

same is true, and for the same reasons, with respect to a broader claim as to a

three-year "actual knowledge" standard as to a participant's claim.

       Accordingly, this Court certifies the following class:

       "All persons who were participants in the Foot Locker Retirement Plan as of

December 31, 1995, who had at least one Hour of Service on or after January 1,

1996 (as defined under the Plan), and who were not paid a benefit from the Plan

before or are still entitled to a benefit from the Plan; and the beneficiaries and

estates of such persons and alternate payees under a Qualified Domestic Relations

Order."

III.   REINSTATING THE § 102(a) CLAIM

       Plaintiff seeks reinstatement of his claim pursuant to § 102(a)-referring to it

as the "surcharge" claim. 2 This Court previously dismissed the § 102(a) claim as

time-barred. The Department of Labor ("DOL'') submitted an amicus brief to the

Second Circuit in which it argued that plaintiffs § 102(a) claim should not have

been deemed time-barred given the sparse facts and particularized knowledge a

layperson would have had to have brought to those facts. On appeal, the Second




2 This is perhaps slightly misleading as "surcharge" may be a remedy imposed in connection with
contract reformation. See Osberg, 555 F. App'x at 81.
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Circuit declined to determine whether the § 102(a) claim was time-barred in light of

the fact that plaintiffs§ 404(a) claim would have provided for complete relief.

Plaintiff now seeks to reinstate his § 102(a) claim.

       Defendants argue that this motion is procedurally improper-that it is in the

nature of a motion for reconsideration of a decision issued some two years ago. (See

Defs.' Mem. of Law in Opp'n to Pl.'s Mot. for Reinstatement of Count Three (SPD

Claim), ECF No. 169, at 1.) This argument ignores the fact that the Second Circuit

itself signaled that plaintiff could-at some even later stage, perhaps if surcharge

following reformation were denied in connection with the§ 404(a) claim-move for

reinstatement of the§ 102(a) claim. See Osberg, 555 F. App'x at 81. It would

certainly appear that the Second Circuit was not troubled by the timing of such a

motion and was not suggesting that local rules regarding motions for

reconsideration should deter this Court from considering such a motion. Of course,

during the pendency of any case, a court may review its prior rulings to prevent

injustice.

       Here, based on the facts presently before this Court, the Court finds that its

prior ruling regarding the timeliness of the § 102(a) claim was error and reverses

itself. While the evidence to which the Court cited no doubt existed, the Court was

imposing on laypersons an obligation to study isolated pieces of information and to

understand nuances of ERISA law. The point of many rules regarding summary

plan descriptions and other communications to participants is that they are

supposed to be comprehensible to mere mortals. Plaintiff alleges that the

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communications here were not. He has therefore sufficiently supported his claim

that even receiving a distribution would not itself constitute "actual knowledge" in

any real sense.

      Accordingly, the Court reverses its prior ruling dismissing the § 102(a) claim.

IV.   CONCLUSION

      For the reasons set forth above, plaintiffs motions for class certification and

reinstatement are GRANTED. The Clerk of Court is directed to terminate the

motions at ECF Nos. 157 and 160.

         SO ORDERED.

Dated:        New York, New York
              September Zl-; 2014

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                                                 KATHERINE B. FORREST
                                                 United States District Judge




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